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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 21-20717-CIV-SCOLA/Goodman

  TANIA RODRIGUEZ and FREDIS POSADAS,

         Plaintiffs,
                                                                                    APR O9 2021
                                                                                     ANGELA E. NOBLE
  V.                                                                                CLERK U.S. DIST. CT.
                                                                                  S. D. OF FLA. - FT. PIERCE


  UNITED STATES OF AMERICA,

         Defendants.
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                                NOTICE OF CONVENTIONAL FILING

         Please take notice that the foregoing Plaintiffs' Notice of Reply to the ORDER TO SHOW
  CAUSE and is being filed conventionally for the following reasons:
          Counsel does not yet have access to the Court's CM/ECF portal as Counsel has CM/ECF
  took the CM/ECF training on April 8, 2021 and does not yet have the login for the CM/ECF system
  as of today.

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

  conventionally to Attorney Latoya Brown, 500 East Broward Blvd., Suite 700 Fort Lauderdale,

  Florida 33394, (954) 660-5957 and Latoya.Brown2@usdoj.gov on this April 9, 2021.

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